                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                               (NORTHERN)/(SOUTHERN) DIVISION


In re:                                                   Chapter 7

Laura Lynne Lucas,                                       Case No. 19-30218-dof

         Debtor(s).                                      Hon. Joel Applebaum, Flint
                                         /

Tracy B. Sutton,                                         Adversary Proceeding No. 19-03039-dof

         Plaintiff(s),

v.

Laura Lynne Lucas,

         Defendant(s).
                                         /


                             REPORT OF PARTIES’ RULE 26(f) CONFERENCE


       Pursuant to Fed. R. Bankr. P. 7026 and Fed. R. Civ. P. 26(f), a conference was held on June
26, 2019, at U.S. Bankruptcy Court Courtroom, 226 West Second Street, Flint, Michigan 48502 and
was participated in by:

         Ramsey H. Mashni, counsel for plaintiff

        Laura Lynne Lucas for defendant did not participate and failed to respond to this proposed
report that was mailed to Ms. Lucas on or about June 11, 2019.

         This is submitted as the required report of that conference.

         (1)     Initial Disclosures required by Fed. R. Civ. P. 26(a)(1).

                 [X]      The parties will provide such by July 10, 2019; or

                 [ ]      The parties agree to provide the following at the times indicated:


       (2)      Discovery Plan. The parties jointly propose to the Court the following discovery plan
in conformance with Fed. R. Civ. P. 26(f)(3): (Use separate paragraphs or subparagraphs as
necessary if parties disagree.)




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             (a)    Discovery will be needed on the following subjects: Whether the debt by
                    Laura Lynn Lucas to Creditor Tracy B. Sutton is a non-dischargeable
                    pursuant to 11U.S.C. §523(a)(15).

             (b)    All discovery commenced in time to be completed by November 1, 2019.

             (c)    Maximum of 25 interrogatories by each party to any other party. [Responses
                    due 30 days after service.]

             (d)    Maximum of 25 requests for admission by each party to any other party.
                    [Responses due 30 days after service.]

             (e)    Maximum of 3 depositions by plaintiff(s) and 3 by defendant(s).

             (f)    Each deposition [other than of not applicable] limited to maximum of 3 hours
                    unless extended by agreement of parties.

             (g)    Reports from retained experts under Fed. R. Civ. P. 26(a)(2) due:
                    from plaintiff(s) by November 15, 2019
                    from defendant(s) by December 6, 2019.

             (h)    Supplementation under Fed. R. Civ. P. 26(e) due within 14 days of learning
                    that a disclosure or response is incomplete or incorrect.

             (i)    Discovery of electronically stored information

                    (i)     This adversary proceeding does not involve the discovery of
                            electronically stored information

                    (ii)    Pursuant to E.D. Mich. LBR 7026-4, the Model Order Relating to the
                            Discovery of Electronically Stored Information approved by the
                            District Court will apply.


       (3)      Other Agreed Upon Items.     [Use separate paragraphs or subparagraphs as
necessary if parties disagree.]

             (a)    Plaintiff(s) is granted leave through, and the deadline is, August 30, 2019 to
                    join additional parties and to amend the pleadings.

             (b)    Defendant(s) is granted leave through, and the deadline is, August 30, 2019 to
                    join additional parties and to amend the pleadings.

             (c)    All potentially dispositive motions must be filed by January 31, 2020.

             (d)    The proceeding will be ready for trial by February 28, 2020. The trial is
                    expected to take approximately ONE trial day.



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              (e)      Jury Trial Matters.

                       (i)     [x]     a jury trial was not timely demanded and is waived; or

                               [ ]     a jury trial was timely demanded, but is waived; or
                               [ ]     a jury trial was timely demanded but not waived.

                       (ii)    [ ]     the parties consent to the Bankruptcy Court conducting the
                                       jury trial; or

                               [X]     the parties do not at this time consent to the Bankruptcy Court
                                       conducting the jury trial.

              (f)      The parties agree that:

                       [x]     This is a core proceeding; or

                       [ ]     This is a non-core proceeding otherwise related to the bankruptcy
                               case.

              (g)      [X]     The parties consent to the Bankruptcy Court entering a final order or
                               judgment in this proceeding; or

                       [ ]     The parties do not consent to the Bankruptcy Court entering a final
                               order or judgment in this proceeding.

       (4)    Other matters.

       (5)    Matters not agreed upon or insufficiently addressed by the foregoing.



Date: June 21, 2019                                    /s/ Ramsey H. Mashni
                                                       RAMSEY H. MASHNI (P51314)
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Date: ____________________
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